Filed 02/01/19                                                   Case 19-01019                                                            Doc 3

     EDC.002−830fA        Summons and Notice of Status Conference in an Adversary Proceeding (v.11.16)                         USBC,EDCA

                        UNITED STATES BANKRUPTCY COURT
                      Eastern District of California, Fresno Division
             SUMMONS AND NOTICE OF STATUS CONFERENCE IN AN ADVERSARY
                                       PROCEEDING
     In re
                                                                                                               Bankruptcy Case No.
     Stephanie Dawn Holm
                                                                               Debtor(s).                     18−14338 − B − 7

     Stephanie Dawn Holm

                                                                               Plaintiff(s),
                                                                                                             Adversary Proceeding No.
     v.
     Citibank, N.A.                                                                                             19−01019 − B

                                                                               Defendant(s).

      YOU ARE SUMMONED and required to file a written motion or answer to the complaint which is attached to this summons with
     the Clerk of the Bankruptcy Court, 2500 Tulare Street, Suite 2501, Fresno, California 93721−1318, within 30 days after the date
     of issuance of this summons, except that the United States and its officers and agencies shall file a motion or answer to the
     complaint within 35 days.
     Plaintiff and a defendant may stipulate to only one extension of time for that defendant to file an answer or motion in response to
     the complaint, and such stipulation shall: (1) be in writing; (2) be filed with the Court; (3) be for a period not greater than 30 days
     from the original time above to respond to the complaint. All further extensions must be by order of the Court.
     At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney (or if the plaintiff is not
     represented by an attorney, upon the plaintiff) whose name and address is:
                          Name and Address of Plaintiff's Attorney:      Kelly S. Bresso
                                                                         2490 Mariner Square Loop, Ste 260
                                                                         Alameda, CA 94501

     If you file a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

     YOU ARE NOTIFIED that a status conference in this adversary proceeding will be held as follows:
                          Date and Time:      4/10/19 at 01:30 PM
                          Address:            United States Bankruptcy Court
                                              Courtroom 13, 5th Floor
                                              2500 Tulare Street
                                              Fresno, CA
                          Hearing Judge:      Hon. Rene Lastreto II

     Attorneys of record in the adversary proceeding and unrepresented parties must attend the status conference. You may arrange
     to attend by telephone by contacting Court Call at 1−866−582−6878 at least 24 hours prior to the status conference.

     IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR DEFAULT MAY BE ENTERED AND JUDGMENT BY DEFAULT
     MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

     Date of Issuance:         2/1/19




                                                                                        s/ Wayne Blackwelder, Clerk
Filed 02/01/19                                               Case 19-01019                                                              Doc 3
     EDC 2−830fA     (v.11.16)   (Continued)


     In re
                                                                                                         Bankruptcy Case No.
     Stephanie Dawn Holm
                                                                             Debtor(s).                 18−14338 − B − 7

     Stephanie Dawn Holm

                                                                            Plaintiff(s),
                                                                                                      Adversary Proceeding No.
     v.
     Citibank, N.A.                                                                                        19−01019 − B

                                                                            Defendant(s).


     CERTIFICATION OF SERVICE OF SUMMONS AND NOTICE OF STATUS CONFERENCE AND COMPLAINT


     I, the undersigned, certify that I am, and at all times hereinafter mentioned was, not less than 18 years of age and not a party
     to the above−captioned matter. I further certify that service of the attached Summons and Notice of Status Conference in an
     Adversary Proceeding and a copy of the complaint was made on ___________, by:
     ___ MAIL SERVICE: Regular, first class United States mail, postage fully pre−paid, addressed to:


     ___ PERSONAL SERVICE: By leaving the process with defendant or with an officer or agent of defendant at:


     ___ RESIDENCE SERVICE: By leaving the process with the following adult at:


     ___ PUBLICATION: The defendant was served as follows [describe briefly]:


     ___ STATE LAW: The defendant was served pursuant to the laws of ___________________, as follows [describe briefly]:



     Under penalty of perjury, I declare that the foregoing is true and correct.

     __________________________________                _______________________________________
     Date                                               Signature

     Print Name: _______________________________________________________
     Business Address: ___________________________________________________
     City, State, Zip: _____________________________________________________
